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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                    )               Case No. 8:07CR408
                                             )
                     Plaintiff,              )
                                             )
       vs.                                   )
                                             )                      ORDER
DOUGLAS HUNT,                                )
                                             )
                     Defendant.              )

       This case came before the Court on a Petition for Action on Conditions of Pretrial
Release (#20). On November 29, 2007 Pretrial Services Officer Jennifer Iverson submitted
a Petition for Action on Conditions of Pretrial Release alleging that Defendant had violated
conditions of release as follows:

       1. The defendant shall not commit any offense in violation of federal, state
       or local law while on release in this case.

       The defendant was cited for Shoplifting on November 28, 2007. In addition,
       he was incarcerated in Douglas County, Nebraska, based on an active
       warrant issued in Madison County, Nebraska for failing to appear for a
       hearing on October 25, 2007.

A warrant for Defendant’s arrest was issued.
       Defendant appeared before the undersigned magistrate on January 2, 2008. Mark
Bubak represented Defendant. Kimberly Bunjer, Assistant United States Attorney,
represented the Government. After being advised of the nature of the allegations, rights,
and the consequences if the allegations were found to be true, Defendant admitted the
allegations. The Court took judicial notice of the Memorandum of Pretrial Services Officer
Jennifer Iverson dated January 2, 2008. The Court finds the allegations set out in the
petition are generally true and finds the Defendant violated the conditions of release.
       After providing both parties an opportunity for allocution as to disposition and
considering the report of Pretrial Services, I find the Order Setting Conditions of Release
(#13) should be revoked. I find Defendant is unlikely to abide by conditions of release. I
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find that there is no condition or combinations of conditions that would reasonably assure
Defendant’s presence for further proceedings, or the safety of the community if Defendant
were to be released upon conditions.
       IT IS ORDERED:
       1. The Petition for Action on Conditions of Pretrial Release (#20) is granted;
       2. The November 20, 2007 Order Setting Conditions of Release (#13) is hereby
revoked; and
       3. Defendant is committed to the custody of the Attorney General or his designated
representative for confinement in a correctional facility separate, to the extent practicable,
from persons awaiting or serving sentence or being held in custody pending appeal.
Defendant shall be afforded a reasonable opportunity for private consultation with defense
counsel. On order of the Court of the United States or on the request of an attorney for the
Government, the person in charge of the correctional facility shall deliver Defendant to the
United States Marshal for purpose of an appearance in connection with a court proceeding.
       Dated this 3rd day of January 2008.

                                           BY THE COURT:


                                           s/ F. A. Gossett
                                           United States Magistrate Judge
